       Case 17-04595-jw             Doc 27       Filed 10/01/18 Entered 10/01/18 14:31:58                      Desc P III
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                                                United States Bankruptcy Court
                                                   District of South Carolina


Case Number: 17−04595−jw                                          Chapter: 13

In re:
 William Henry Jefferson Jr.                                      Yvonne Owens Jefferson
 aka Bill Jefferson, aka William H Jefferson Jr., aka William H   aka Yvonne O Jefferson
 Jefferson
                                                                                                         Filed By The Court
  Entered By The Court                                       ORDER                                             10/1/18
         10/1/18                                                                                            Laura A. Austin
                                                                                                             Clerk of Court
                                                                                                          US Bankruptcy Court


This matter comes before the Court on a Petition to Dismiss the above−captioned Chapter 13 case. Following notice and an
opportunity for a hearing or a hearing having been held, the Court finds and concludes, as marked below:

      P−I.    The relief sought is granted and the case is hereby dismissed.

      P−II.   The relief sought is denied.

  X   P−III. The relief sought is denied based upon an agreement between the trustee and the debtor(s) and/or
             the attorney for the debtor(s), whereby this case may be dismissed upon request of the trustee,
             without further notice or hearing, if the debtor(s) fail(s) to comply with the terms of this agreement. If
             this matter arose because of the debtor(s) failure to make payments to the trustee, the case may also
             be dismissed upon request of the trustee, without further notice or hearing, if the debtor(s) fail(s) to
             make future payments, as they become due.

      P−IV. The relief sought is granted and the case is hereby dismissed with prejudice based upon a previous
            Order directing that any dismissal of this case would be with prejudice. The debtor(s) is/are hereby
            directed not to file a Petition under Chapter 13 for a period of one−hundred eighty (180) days from the
            entry of this Order.



AND IT IS SO ORDERED.




                                                                  United States Bankruptcy Judge
